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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                JBM Janitorial Maintenance, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  7002 Hillsboro St
                                  Houston, TX 77020
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    JBM Janitorial Maintenance, Inc.                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     Viridiana Garcia Martinez                                       Relationship            Owner
                                                             Southern District Of
                                                  District   Texas                         When       5/23/18                Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor   JBM Janitorial Maintenance, Inc.                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    JBM Janitorial Maintenance, Inc.                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 23, 2018
                                                  MM / DD / YYYY


                             X   /s/ Viridiana Garcia Martinez                                            Viridiana Garcia Martinez
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Owner




18. Signature of attorney    X   /s/ Jessica Lee Hoff                                                      Date May 23, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jessica Lee Hoff 24093963
                                 Printed name

                                 Hoff Law Offices, P.C.
                                 Firm name

                                 14 Inverness Drive East, Suite 236
                                 Englewood, CO 80112
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     3038034438                    Email address      jhoff@hofflawoffices.com

                                 24093963 TX
                                 Bar number and State




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    Barri Financial Group
    9800 Center Parkway suite 700
    HOUSTON, TX 77036




    Barri Financial Group
    9800 Center Parkway suite 700
    HOUSTON, TX 77036




    CASH EXPRESS
    2322 WIRT RD.
    HOUSTON, TX 77055




    CESAR PAOLA HERNANDEZ
    818 RICHCREST DR APT# 216
    HOUSTON, TX 77060




    chase bank
    340 S. CLEVELAND AVE. BLDG 370
    WESTERVILLE, OH 43081




    Comcast Business
    9602 S 300 W. STE B
    SANDY, UT 84070




    DEBORAH RIVERA
    702 BRENDA ST
    HOUSTON, TX 77076




    Great Southwest Paper Co. Inc
    P.O Box 15618
    HOUSTON, TX 77220
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krm
525 N Sam houston parkway E
houston, TX 77060




LABOR FORCE
525 N Sam houston parkway E SUITE 246
houston, TX 77060




LABOR FORCE
525 N Sam houston parkway E SUITE 246
houston, TX 77060




LABOR FORCE
525 N Sam houston parkway E SUITE 246
houston, TX 77060




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525 N Sam houston parkway E SUITE 246
houston, TX 77060




LABOR FORCE
525 N Sam houston parkway E SUITE 246
houston, TX 77060




LAURA LOZOYA
2302 WARWICK
HOUSTON, TX 77093




LIBERTY MUTUAL INSURANCE
9450 SEWARD ROAD
FAIRFIELD, OH 45014
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Merchant Cash & Capital
1250 Kirts Blvd Ste 100
Troy, MI 48084




MOORE & ASSOCIATES
440 LOUISIANA ST SUITE 675
HOUSTON, TX 77002




nova health care
po box 840066
dallas, TX 75284




nova healthcare
110 cypress station, suite 152
HOUSTON, TX 77090




PLS Check Cashers of Texas, L.P.
800 Jorie Boulevard 2nd Floor
Oak Brook,, IL 60523




SPARKLETTS
6750 DISCOVERY BLVD
MABLETON, GA 30126




STARTEX POWER
PO. BOX 4911
HOUSTON, TX 77210




STATE COMPTROLLER OF PUBLIC ACCOUNTS
PO BOX 149359
AUSTIN, TX 78714
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TC JESTER EMERGENCY CENTER, LLC
PO. BOX 821028
HOUSTON, TX 77282




TC JESTER EMERGENCY CENTER, LLC
PO. BOX 821028
HOUSTON, TX 77282




TEXAS WORK FORCE COMISSION
101 E. 15TH STREET RM 556
AUSTIN, TX 78778




Vernon Capital Grp LLC
c/o Law Office of Nosson T. Abrams
30 Wallstreet 8th Floor
New York, NY 10005
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                                                               United States Bankruptcy Court
                                                                     Southern District of Texas
 In re      JBM Janitorial Maintenance, Inc.                                                              Case No.
                                                                                 Debtor(s)                Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for JBM Janitorial Maintenance, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 May 23, 2018                                                        /s/ Jessica Lee Hoff
 Date                                                                Jessica Lee Hoff 24093963
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for JBM Janitorial Maintenance, Inc.
                                                                     Hoff Law Offices, P.C.
                                                                     14 Inverness Drive East, Suite 236
                                                                     Englewood, CO 80112
                                                                     3038034438 Fax:3036486648
                                                                     jhoff@hofflawoffices.com




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